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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                             www.flsb.uscourts.gov
                                                 CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                              Original Plan
                                                                    Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                        ■   1st                                     Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Jesus Zambrano                                   JOINT DEBTOR: Maria Mena                            CASE NO.: 16-17192-RAM
SS#: xxx-xx- 6850                                           SS#: xxx-xx-4854
I.          NOTICES
            To Debtors:           Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                  and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                  Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                  filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:         Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                  be reduced, modified or eliminated.
            To All Parties:       The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                  box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                              ■   Included                Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                  Included            ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                 Included            ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $208.49               for months    1   to 19 ;

                   2.   $263.35               for months 20 to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                               NONE      PRO BONO
        Total Fees:               $4175.00            Total Paid:           $1500.00            Balance Due:           $2675.00
        Payable             $81.97           /month (Months 1       to 19 )
        Payable             $81.97           /month (Months 20 to 32 )
        Payable             $51.96           /month (Months 33 to 33 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        3650 + $525 (Motion to value) = $4175

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:               ■   NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
            B. VALUATION OF COLLATERAL:                     NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:             ■   NONE

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                    2. VEHICLES(S):                 NONE

         1. Creditor: Wells Fargo Auto Finance                  Value of Collateral:              $7,500.00                       Payment
              Address: POB 51168                                Amount of Creditor's Lien:        $10,156.23    Total paid in plan:         $8,595.52
                       Los Angles, CA 90051

         Last 4 Digits of Account No.: 0001                     Interest Rate:        5.50%                            $117.85   /month (Months    1 to 19 )
         VIN: 1NXBU4EE3AZ291768                                                                                        $155.04   /month (Months 20 to 60 )
         Description of Collateral:
         2010 Toyota Corolla XLE


         Check one below:
            Claim incurred 910 days or more pre-
          ■
            petition
            Claim incurred less than 910 days pre-
            petition
                    3. PERSONAL PROPERTY:                   ■   NONE
            C. LIEN AVOIDANCE                   ■    NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                       ■    NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                            NONE
                       ■    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                            confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                            codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor               Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             Biscayne Point South HOA       7351                         12108 SW 249 Street, Homestead, FL 33032
                       1.
                          Nissan Motor Acceptance           0001                                2014 Nissan Rogue
                       2. Corporation
                             Wells Fargo Home Mortgage 3294                                     12108 SW 249 Street, Homestead, FL 33032
                       3.
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                           ■   NONE
            B. INTERNAL REVENUE SERVICE:                            ■   NONE
            C. DOMESTIC SUPPORT OBLIGATION(S):                             ■    NONE
            D. OTHER:              ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay               $30.01          /month (Months 33          to 33 )
                       Pay          $81.97          /month (Months 34          to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.            If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                        ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.


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VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                             NONE
                       ■   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                           annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                           Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                           provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                           increases by more than 3% over the previous year’s income. [Miami cases]
VIII.       NON-STANDARD PLAN PROVISIONS                        ■   NONE


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                Debtor                                                               Joint Debtor
  Jesus Zambrano                                                 Date                  Maria Mena                                           Date



  /s/ Robert Sanchez, Esq.                          December 28, 2017
    Attorney with permission to sign on                      Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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